                        Case 5:24-cv-00769-XR Document 5 Filed 07/25/24 Page 1 of 4


        AO 440 (Rev. 06/12) Summons in a Civil Action


                                             United States District Court
                                                                         for the

                                                               Western District of Texas     3
                        MARK ANTHONY ORTEGA                                )
                                                                           )
                                                                           )
m                                                                          )
                                   P}aintijf(s)                            )
%                                                                          )
                                        V.                                         Civil Action No. 6:24-CV-00769*XR
                                                                           )
         CARLOS HERRERA AND FUNDCUBE INC. D/B/A
                                                                           )
                      FUNDQUBE,
                                                                           )
                                                                           )
                                                                           )
 I                                DefendantfsJ                             )

                                                        SUMMONS IN A CIVIL ACTION


 i      To: (Defendant’s name and address)
                                              Carlos Herrera
                                              1207 13th St.
                                              San Diego, CA91932


I
■^5)


                 A lawsuit has been filed against you.

                Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
       are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
       P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached comp aint or a motion under Rule 12 of
       the Federal Rules of Civil Procedure Anthony
       whose name and address are*
                                             Ih^sMswer  or motion must be served on the fflaintiff
                                                    Ortega                               ,
                                                                                                   or plaintiffs attorney,
                                             PO Box 702099
                                             San Antonio. TX 78270




                If you fail to respond, judgment by default will be entered against you for tht relief demanded in the complaint.
       You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT

                  07/25/2024
       Date:

                                                                                              Signi 'ture of Clerk or Deputy Clerk
                 Case 5:24-cv-00769-XR Document 5 Filed 07/25/24 Page 2 of 4


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:24-CV-00769-XR


                                                           PROOF OF SERVICE

                      (This section should not befiled with the court unless required by fed, R. Civ. P. 4 (1))

           This summons for {name o/individual and title, ifany)
 was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or


          □ 1 left the summons at the individual’s residence or usual place of abode with (name)

                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last khown address; or

          □ I served the summons on (name ofindividual)                                                                       , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                on (date)                            ;or


          □ I returned the summons imexecuted because                                                                              ; or


          □ Other (specify):




          My fees are $                           for travel and $                  for services, for a total of $          0.00



          I declare under penalty of peijury that this information is true.


Date:

                                                                                            Server',s si^ature


                                                                                       Printed          and title




                                                                                            Server's address


Additional information regarding attempted service, etc:
                Case 5:24-cv-00769-XR Document 5 Filed 07/25/24 Page 3 of 4


AO 440 (Rev. 06/12) Summons in a Civil Action

                                       United States District Court
                                                                     for the

                                                           Western District ofTexas     □
                MARK ANTHONY ORTEGA                                    )
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                                                                       )
                            Plainti/Jls)
                                                                       )
                                                                       )       Civil Action No. 6:24*CV-00769-XR
                                 V.
                                                                       )
 CARLOS HERRERA AND FUNDCUBE INC. D/B/A
                                                                       )
                         FUNDQUBE,
                                                                       )                        I
                                                                       )
                                                                       )
                           Defendani(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

                                           FundCube Inc.
To: (Defendant’sname and address)
                                           D/B/A Fundqube
                                           120713th St,
                                           San Diego, CA 91932




          A lawsuit has been filed gainst you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Pr
whose name and address are:           oc^^|e.^TTi^M^e^r
                                        PO Box 702099
                                                        motion must be served on the plaintifT or plaintiffs attorney.
                                        San Antonio, TX 78270




       If you fail to respond, judgment by default will be entered against you for thp relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT

               07/25/2024
Date:
                                                                                            Signature of Clerk or Deputy Clerk
                    Case 5:24-cv-00769-XR Document 5 Filed 07/25/24 IPage 4 of 4


    AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

     Civil Action No. 5;24'CV-00769’XR


                                                               PROOF OF SERVICE

                           (This section should not he filed with the court unless required by\Fed. R. Civ. P. 4 (1))

               This summons for (name of individual and title, ifany)

     was received by me on (date)


               □ I personally served the summons on the individual at (place)
                                                                                     on (date)                             ;or


               □ I left the summons at die individual’s residence or usual place of abode i^dth (name)

                                                                      , a person of suitable age and Idiscretion who resides there,
               on (date)                               , and mailed a copy to the individual’s last Known address; or

               □ I served the summons on (name of individual)                                                                      , who is

                designated by law to accept service of process on behalf of (name of organization)
                                                                                     on (date)                             ;or


               □ I returned the summons unexecuted because                                                                              ;or


               □ Other (specify):




               My fees are $                           for travel and $                   for services, for a total of $         0.00



               I declare under penalty of perjury that this information is true.


    Date:
                                                                                                 Serve,r 's signature



                                                                                             Printed name and title




                                                                                                 Server’s address



    Additional information regarding attempted service, etc:




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